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In the Gunited States Court of Federal Clans
FILED

 

 

)
TIMOTHY P, LANGSTON, ) eT
) MAR - 2018
Plaintit ) U.S. COURT OF
) No, 17-1034C FEDERAL CLAIMS
Vv. )
) Filed: March 9, 2018
THE UNITED STATES, )
)
Defendant. )
)
DISMISSAL ORDER

Plaintiff, pro se, Timothy P. Langston, commenced this action on July 31, 2017 (docket
entry no. 1). On September 18, 2017, plaintiff filed a motion to proceed in this matter in forma
pauperis (docket entry no. 6), On November 16, 2017, the government filed a motion to dismiss
this matter for lack of subject-matter jurisdiction, pursuant to Rule 12(b)(1) of the Rules of the
United States Court of Federal Clams (“RCFC”) (docket entry no. 8). Plaintiff did not file a

timely response to the government’s motion to dismiss.

On December 21, 2017, the Court issued a Show Cause Order directing plaintiff to show
cause why he failed to timely respond to the government’s motion to dismiss and to file a
response to the government’s motion to dismiss by January 11, 2018 (docket entry no. 9). On
January 8, 2018, the plaintiff's service copy of the Court’s Show Cause Order was returned as
undeliverable (docket entry no. 10).

A review of the Federal Bureau of Prisons’ public records revealed that plaintiff had been
released from prison on October 4, 2017, but he had not filed a change of address with the Court.
And so, on February 2, 2018, the Court reissued its Show Cause Order to the address that
appeared to be plaintiffs current address, directing plaintiff to respond to the government’s
motion to dismiss on or before March 1, 2018 (docket entry no. 11), In the Show Cause Order,
the Court also informed plaintiff that, should he fail to respond to the government’s motion to

dismiss by March 1, 2018, the Court would treat such failure to respond as a failure to comply

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with a court order and to prosecute this matter pursuant to RCFC 41(b). Plaintiff did not file a

response to the government’s motion to dismiss by March 1, 2018.
And so, the Court:
1. GRANTS plaintiff's motion to proceed in forma pauperis;
2. DISMISSES the complaint without prejudice, pursuant to RCFC 41(b); and
3. Directs the Clerk’s Office to ENTER final judgment consistent with this Order.
No costs.

IT IS SO ORDERED.

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